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 6                                                             UNITED STtfs DISTRICT COURT
                                                                                                                                                        :J,
 7                                                   SOUTHERN DISTRICT OF CAJ:i:IFORNIA
                                                                             1                                                                                                              J
 8                                                                       January 2019 Grand Jury

 9   UNITED STATES OF AMERICA,                                                                                          Case No.                              19CR4768GPC
10                                  Pl~intiff,                                                                      .!!!Q _!tT!i.§.!i'.!'.                                                 {I
11        v.                                                                                                            Title 18, U.S.C.,
                                                                                                                        Secs. 922 (a)(l)(A), 923(a) and
12   MORAD MARCO GARMO ( 1) ,                                                                                           924(a) (1) (D) - Engaging in the
     LEO JOSEPH HAMEL (2),                                                                                              Business of Dealing in Firearms
13   GIOVANNI VINCENZO TILOTTA (3),                                                                                     Without a License; Title 18,
      aka "Gia Tilottan,                                                                                                U.S.C., Sec. 922(a) (6) and
14                                                                                                                      924 (a) (2) - False Statement in the
     FRED MAGANA ( 4) ,
                                                                                                                        Acquisition of a Firearm; Title 18,
15   WAI EL YOUSIF ANTON ( 5) ,                                                                                         U.S.C., Sec. 9 2 4(a)(l)(A) - False
      aka "Will Antonn,                                                                                                 Statement in the Acquisition of a
16                                                                                                                      Firearm; Ti tle 18 , U.S.C.,
                                    Defendants.                                                                         Sec . 922 (b) (2) and 924 (a) (1) (D) -
17                                                                                                                      Conducting Firearms Transaction in
                                                                                                                        Violation of State Law; Title 26,
18                                                                                                                      U.S.C., Secs. 586 l(d ) and 5871 -
                                                                                                                        Possession of Unregistered Firearm;
19                                                                                                                      Title 18, U.S.C., Sec. 1001 (a) (2) -
                                                                                                                        False Statement; Title 18, U.S.C.,
20                                                                                                                      Sec. 1512(b} (3 ) - Attempted
                                                                                                                        Obstruction of Justice ; Tit le 21,
21                                                                                                                      U.S.C . , Sec . 841 (a) (1) - Possessio n
                                                                                                                        of Marijuana with Intent to
22                                                                                                                      Distribute; Tit l e 18 , U.S.C.,
                                                                                                                        Sec. 2 - Aiding and Abetting;
23                                                                                                                      Title 2 1 , U.S.C., Sec. 843(b) -
                                                                                                                        Use of a Communications Fa c ility to
24                                                                                                                      Furt her a Drug Crime; Title 18,
                                                                                                                        U.S.C., Sec. 92 4(d), Title 26 ,
25                                                                                                                      U.S.C., Sec. 5872, Title 2 1,
                                                                                                                        U.S.C., Sec. 853, and Title 28,
26                                                                                                                      U.S.C . , Sec. 246l (c) - Criminal
                                                                                                                        Forfeiture
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 1         The grand jury charges:

 2                                         INTRODUCTORY ALLEGATIONS

 3         1.        From October 16, 1992 to September 20, 2019, defendant MORAD

 4   MARCO GARMO was           a    Deputy Sheriff at            the San Diego County Sheriff's

 5   Department ("SDCSD").             From January 8, 2016 to February 13, 2019, GARMO

 6   was the Captain in charge of the Rancho San Diego Station, a substation

 7   of SDCSD covering approximately 150 square miles in San Diego County

 8   including Spring Valley, Lemon Grove, Imperial Beach, and unincorporated

 9   areas of the County.             At no time did GARMO possess the Federal Firearms

10   License        (" FFL")   required to be          lawfully engaged in            the business     of

11   dealing in firearms.

12         2.        Defendant LEO JOSEPH HAMEL owned and operated a series of

13   jewelry stores and related businesses, commonly known as Leo Hamel Fine

14   Jewelers.         HAMEL held multiple FFLs since January 1992,                      including one

15   related to his business, Leo Hamel Fine Jewelers.

16         3.        From at       least    September       9,   2 015    to the present,     defendant

17   GIOVANNI VINCENZO TILOTTA, aka "Gio Tilotta", held one or more FFLs and

18   owned and operated a firearms dealer commonly known as "Honey Badger

19   Firearms."
20         4.        From approximately October 19, 2001 to the present, defendant

21   FRED MAGANA was a Deputy Sheriff at SDCSD.

22         5.        Defendant WAIEL YOUSIF ANTON, aka "Will Anton", held himself

23   out   as   a     consultant      in     various    matters          concerning   state   and   local

24   government,        including as         a   consultant       assisting persons       applying to

25   SDCSD for concealed weapons permits, commonly known as permits to carry

26   a concealed weapon ("CCW").

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 1                                    Relevant Firearms Laws

 2        6.    California           Penal     Code       Section      32000   prohibited          the

 3   manufacturing,     importing,      offering for sale,           selling, gifting, or loan

 4   of any handgun that was not on the roster of handguns determined to be

 5   "not unsafe" within the meaning of California Penal Code Section 32015.

 6   More specifically:

 7              a.      Pursuant      to     California      Penal   Code   Section      32015,    the

 8   California State Department of Justice                  ("CalDOJ")     maintained a roster

 9   of handguns that could lawfully be sold in the State of California.                           The

10   roster was a listing of handguns by model, model number, and model name

11   that had been tested by a California certified testing laboratory and

12   determined "not to be unsafe."             The handguns listed on this roster were

13   the only handguns that could be sold in the State of California, subject

14   to certain exceptions.

15              b.      Any handgun not listed on the roster was referred to as

16   "unsafe," "non-roster," or "off roster."

17              C.      An    "off    roster"     handgun      could    only   be   sold     to,    or

18   purchased by, certain exempted parties listed in California Penal Code

19   Section   32000.        California      Penal    Code    Section    32000 (b) (4)    permitted

20   sworn members of police departments and other law enforcement or military

21   agencies to purchase "off roster" handguns for use in the performance

22   of their official duties.

23              d.      The California Penal Code did not prohibit an exempted

24   person, such as a sworn member of a police department, from re-selling

25   an "off roster" handgun to a non-exempted buyer who was not otherwise

26   prohibited by the applicable laws and regulations.

27        7.    California Penal Code Section 27535 provided that "no person

28   shall make an application to purchase more than one handgun within any

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 1   30-day period," except for certain parties identified in the statute,

 2   including law enforcement agencies and paid peace officers.                       Pursuant

 3   to the exception set forth in California Penal Code Section 27535 (b) (5),

 4   peace officers could purchase or apply to purchase more than one handgun

 5   within a 30-day period.

 6        8.    California Penal Code Section 26815 generally provided that

 7   no firearm could be delivered within ten days of the application to
 8   purchase (the "ten-day waiting period").              The ten-day waiting period did

 9   not apply to the sale, delivery, or transfer of firearms made to a full-

10   time, paid police officer whose employer had authorized the officer to

11   carry firearms while in the performance of the officer's duties.

12        9.    California Penal Code Section 32310 generally prohibited the

13   possession of a large-capacity magazine, which was defined by California

14   Penal Code Section 16740 as a magazine capable of accepting more than

15   ten rounds of ammunition.         California Penal Code Section 32405 provided

16   an exception to this prohibition for law enforcement officers.

17        10.   The United States Department of Justice,                 Bureau of Alcohol,

18   Tobacco, Firearms and Explosives ("ATF") required all federally-licensed

19   firearms   dealers    to    document   firearms       sales   and     purchases   to   non-

20   licensees on an ATF Form 4473, a form that was completed by the federal

21   firearms   licensee    ( "FFL")    dealer       and   the   firearm    purchaser.       The

22   documentation process included the following requirements:

23              a.   At the time the purchaser submitted an application to

24   purchase a firearm,        the purchaser was required to certify on ATF Form

25   4473 that he or she was the "actual transferee/buyer" of the firearm.

2 6 ATF Form 4 4 7 3 advised that:       "You are not the actual buyer if you are

27   acquiring the firearm(s) on behalf of another person."

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     1                b.     At the time the purchaser took possession of the firearm,
     2   which generally was at the conclusion of the 10-day waiting period, the

     3   purchaser was required to re-certify on the ATF Form 4473 that all of

     4   the assertions previously made on the ATF Form 4473 during the initial

     5   application were true, correct, and complete.

     6                       Unlawful Firearms Acquisitions               &   Transfers

     7        11.    From     approximately       March      2013    until        February       13,   2019,
     8   Defendant MORAD MARCO          GARMO    engaged      in    the       business    of    dealing    in

     9   firearms without a license. Specifically, GARMO acquired approximately

10       14 6 firearms     in transactions conducted through FFLs and reported to

11       California's Automated Firearms System                ("AFS").          During the same time

12       period, GARMO transferred approximately 93 firearms to other people in

13       transactions conducted through FFLs and reported to AFS.                             As set out in

14       further    detail    below,   GARMO also          transferred additional              firearms    to

15       others (including Defendant LEO JOSEPH HAMEL), sometimes in exchange for

16       cash, without conducting lawful transfers through FFLs.

17            12.    GARMO    engaged    in     the   business      of        dealing    in    firearms    by

18       devoting time, attention, and labor to dealing in firearms as a regular

19       course of trade or business with the principal objective of livelihood

20       and profit through the repetitive purchase and resale of firearms.                               One

21       aspect of GARMO's livelihood and profit in dealing in firearms was to

22       make money by reselling firearms at favorable prices or exchanging them

23       for valuable services.         Another aspect was for GARMO to build good will

24       with future potential donors or benefactors who could advance his career

25       or support anticipated political campaigns, including GARMO's expressed

26       intention to run for San Diego County Sheriff, by obtaining firearms for

27       them that they could not directly obtain for themselves.

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 1          13.    GARMO    was     reprimanded          by   the    San      Diego     County       District

 2   Attorney's Office ("SDCDAO") on or about February 23, 2017 for excessive

 3   handgun      sales    in    violation         of   California     law.         Shortly after        this

 4   reprimand,     GARMO separately received a written warning distributed to

 5   law enforcement agencies by the Bureau of Alcohol, Tobacco,                                    Firearms,

 6   and Explosives, which warned law enforcement officers against purchasing

 7   "off    roster"       firearms          and    reselling       those         firearms    to      non-law

 8   enforcement        officers       for     a    profit.     GARMO         forwarded       the     warning

 9 memorandum by email to HAMEL.

10          14.    As part of his unlicensed dealing in firearms,                             GARMO often

11   acquired and disposed of the same model of firearm repeatedly.                                       For

12   example, over a period of just over three (3) years, GARMO acquired no

13   fewer than five (5) Glock 43 off roster handguns and transferred all of

14   them to other people.

15          15.    As     part    of    his        unlicensed       dealing        in   firearms,       GARMO

16   repeatedly         purchased      firearms,         including      especially           "off     roster"

17   handguns,     with the intention to resell them to specific individuals:

18   transactions commonly known as "straw purchases."                             For example, between

19   December 2014 and May 2018,                   GARMO falsely certified that he was the

2 o actual buyer or transferee of at least nine                            ( 9)   firearms that he had

21   already agreed to sell to other specific individuals at the time he made

22   those false certifications, as further alleged below.

23          16.    As another part of his unlicensed dealing in firearms, GARMO

24   also supplied certain firearms purchasers with hig0-capacity magazines

25   that they were not permitted to possess under California law.                              Similarly,

26   GARMO supplied his firearms purchasers with ammunition, including SDCSD

27   Department-issued ammunition that he was not authorized to distribute.

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     1            17.     In order to conceal his extensive and unlawful engagement in

     2   the     business       of    dealing     in    firearms,      GARMO    typically      conducted       the

     3   private party transfer of a given firearm at a different FFL from the

     4   dealer where he had previously acquired the firearm.

     5           18.      In    order      to    further     conceal     his     extensive      and     unlawful

     6   engagement        in   the business           of dealing      in firearms,       GARMO    informally

     7   transferred firearms               to other individuals          (primarily HAMEL)            on long-

     8   term "loan," including in exchange for money.                           In reality, the "loans"

     9   were a sham, and the transactions were firearm sales in all but name.

10       GARMO and HAMEL also attempted to fraudulently legitimize their sham

11       "loans" with written records created to protect themselves in case the

12       "loans" were questioned.                 For example, HAMEL emailed GARMO on March 16,

13       2018:    "I'll stop by Saturday and drop off the money and pick up the

14       guns.         If you want to hand write a letter stating I am borrowing them

15       that would be good."               Because GARMO and HAMEL both understood that the

16       "loan"        would be      indefinite,        HAMEL    added   that     GARMO' s     letter    should

17       include a "Serial number [but] no date though."

18               19.     In order to conceal and facilitate the straw purchase of off

19       roster        handguns      for   his    close     associates,        GARMO   relied     in    part   on

20       Defendant       GIOVANNI       VINCENZO       TILOTTA and TILOTTA' s           FFL,    Honey    Badger

21       Firearms.         TILOTTA repeatedly              facilitated    GARMO' s      straw purchase         of

22       firearms       for HAMEL by            knowingly permitting those             transactions       to be

23       conducted at his FFL, accepting and submitting falsified records as if

24       GARMO were the firearms'                true purchaser.

25               20.     TILOTTA also aided and abetted GARMO' s                       unlicensed firearms

26       dealing by preparing early firearms transfer records based on personal

27       information for GARMO and his associates transmitted by GARMO to TILOTTA.

28       By preparing firearms transfer records ahead of time, without requiring

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 1   the   parties     to    the   transaction       to       appear    in person          at   his   FFL,    and

 2   instead     permitting        GARMO     and    selected      associates          to    backdate       those

 3   records after the fact,             TILOTTA enabled GARMO and others to circumvent

 4   the   ten-day waiting period prescribed by California law for                                    firearms

 5   transfers.

 6         21.     Another part of GARMO and HAMEL' s                        arrangement with TILOTTA

 7   involved creating falsified records to make it appear that GARMO was

 g   purchasing firearms on his own behalf, instead of straw purchasing them

 9   for HAMEL.        On June 27,          2016,   for example,         HAMEL emailed GARMO,                "Gio

10   [TILOTTA] asks that we do ordered guns                     [t]his way.          You email him first

11   that you want a Sig Legion and a Walther P99cAS.                           He will then reply ok.

12   You then go in to order.                 You can do right away."                  On July 7,          2016,

13   GARMO in fact          purchased a       Sig Sauer Legion               P226   9mm handgun bearing

14   serial number 47A141276 from TILOTTA's FFL,                        falsely certifying that he

15   was the actual buyer/transferee of the firearm.                                Although the firearm

16   was   never   legally transferred              from      GARMO     to    HAMEL,       it was     found    in

17   HAMEL's possession on February 13, 2019.

18         22.      The same day that GARMO acquired the Sig Sauer Legion P22 6

19   handgun     for   HAMEL,      he    acquired    two       Colt    1911    handguns         for   J.K.,    an

20   associate whom GARMO sought to develop as a supporter for his planned

21   campaign for Sherif;f of San Diego County.                         GARMO had placed his order

22   for the two Colts with TILOTTA by email on July 3, 2016, and when TILOTTA

23   confirmed the order on July 4, 2016, GARMO forwarded that email to J.K.

24   the   same day under the message "FYI."                          In November 2016,           when GARMO

25   later informed J. K.            that    GARMO was        under investigation by CalDOJ as

26   discussed above,         J.K.      texted him "Are you in trouble? Are we?                        .        I

27   never said anything to anyone."                  GARMO reassured J. K.                 that the matter

28   "should blow over."

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 1           23.     TILOTTA     also   facilitated         GARMO's         unlicensed     dealing       by
 2   conducting firearms transactions at locations convenient to GARMO and
 3   his associates,          such as GARMO' s inner office at the SDCSD Rancho San
 4   Diego    substation,        despite    the   fact     that      such    transactions       violated

 5   California law.           Specifically, on October 28, 2016, GARMO and TILOTTA
 6   sold a variety of firearms to San Diego attorney V. B.                             inside GARMO' s
 7   office at the SDCSD Rancho San Diego substation, including (1) a Glock
 8   27    . 40 caliber pistol bearing serial number RLK240 for $1,200;                            (2)    a

 9   Daniel        Defense AR-15    style    rifle;       and     (3) a     Smith   &   Wesson    Shield
10   handgun. In connection with the sale, GARMO offered to supply V.B. with

11   SDCSD    Department-issued         ammunition        for    his   new     Glock.      At    GARMO' s
12   direction,        TILOTTA      facilitated       the        Daniel       Defense     and     Shield
13   transactions        by    preparing     advance        paperwork         for   V.B.'s      firearms
14   transactions, which V.B. backdated at the October 28, 2016 sale as if

15   the records had first been executed on October 8, 2016.
16           24.     After GARMO was reprimanded by the SDCDAO in February 2017 for

17   his excessive purchase and sale of off roster handguns, he altered his
18   unlicensed firearms dealing activities but did not cease them.                                  For
19   example,       instead of uniformly making straw purchases himself and then

20   directly transferring the firearms to their intended recipients, GARMO
21   procured another SDCSD officer to conduct such a transaction: Defendant

22   FRED MAGANA.       Specifically, on March 20, 2017, GARMO sent a text message

23   to TILOTTA's associate,            J.R.D.,    that read "Hey bro,              can you order a

24   Walther PPQ m2 and a Glock 42, also get a price on a FN9mm compact w SS
25   slide. The above guns are for Lt.                    Fred Magana,        let me know when the

26   orders     are    placed,    thanks    brother."           In   fact,    GARMO     knew that    the

27   firearms were intended for HAMEL.                On April 7, 2017, GARMO texted HAMEL

28   "Btw confirming Fred [MAGANA] is buying a wal ther ppq and pps no glocks."

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 1   HAMEL replied "No glocks" and added "PPQ m2 or classic. Either. PPS m2

 2   as well.         Thanks."        GARMO then texted J.R.D.:           "update for Fred;         only

 3 Walther PPQ m2             &   PPS m2 no glock no FN."              On April 24,     2017,     MAGANA

 4   signed paperwork for a Walther PPQ Ml and a Walther PPQ M2 at Honey

 5   Badger        Firearms       reflecting    that   he   was    the   actual   buyer      of    those

 6   handguns.        The Walther handguns were both transferred to HAMEL on paper

 7   on September 15, 2017 at Honey Badger Firearms.

 8           25.     To facilitate his unlicensed firearm dealing, and to deflect

 9   attention from it,             GARMO also used others,            including other Sheriff's

10   Deputies,       to promote           firearms   that   he   was   offering   for    sale.       For

11   example, on September 7, 2018, MAGANA texted GARMO, "Give me a list of

12   the stuff you want to sell and I'll pimp it out to some homies and [ l

13   keep your name out of it until they are ready to pull the trigger. "

14   Likewise,       GARMO        asked    another   Sheriff's     Deputy,   D. L.,     to   advertise

15   firearms GARMO was offering for sale to his father's private security

16   company.

17           26.     As a collateral benefit of purchasing firearms from him, GARMO

18   encouraged his customers to apply for permits to carry a concealed weapon

19   (CCW)    from the San Diego County Sheriff's Department.                           For example,

20   GARMO suggested to an ATF undercover agent that the agent apply for a

21   CCW.    GARMO added that he could write a letter of recommendation for the

22   undercover agent,             whom he had met roughly three weeks earlier while

23   selling him two off roster handguns.                    When the undercover agent asked

24   if GARMO could help the agent avoid the months-long wait for an initial

25   appointment for a CCW, GARMO suggested that his friend (Defendant WAIEL

26   YOUSIF ANTON) could help the agent get an earlier appointment in exchange

27   for a cash payment.

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     1          27.     ANTON aided and abetted GARMO' s unlicensed firearms dealing

     2   by helping GARMO's firearms customers apply for CCW permits in exchange

     3   for cash payments.             Specifically,       ANTON would use connections at the

     4   Sheriff's Licensing Department to secure appointments months earlier

     5   than those available to the general public, charging between $1,000 and

     6   $2,000 for this service.           As part of this scheme, ANTON unlawfully paid

 7       a clerk at SDCSD's civilian licensing staff $100 in cash in exchange for

 8 making             early   CCW    appointments     for    his     "consul ting"     clients.         When

 9       negotiating with the ATF undercover agent referred to him by GARMO,

10       ANTON told the agent            that   he would pay a          referral      fee    of $100     per

11       customer for any other CCW applicants the agent sent to ANTON.                             In turn,

12       one of the $100 bills which the agent paid ANTON for securing an early

13       CCW   appointment       was    found   in   GARMO' s       wallet   eight    ( 8)   days    later,

14       representing a kickback to GARMO of the "consulting" fee earned by ANTON
15       from the CCW applicant GARMO referred to him.

16              28.     No fewer than twenty-nine            (29)    firearms registered to GARMO

17       in    AFS    were     not   located    at   GARMO's        residence    or    his    office      on
18       February 13, 2019.

19              29.     On February 13, 2019, HAMEL possessed hundreds of firearms,
20       including eleven (11) firearms registered to GARMO.

21              30.    On February 13, 2019, following a search of his residence                          by

22       federal agents, ANTON telephoned the ATF undercover agent and repeatedly

23       urged him not to tell federal investigators about the $1,000 that he had

24       paid ANTON.          ANTON repeated this instruction in a separate telephone
25       call on February 14, 2019.

26                                     Marijuana Dispensary Activity

27              31.    As the Captain of SDCSD's Rancho San Diego Substation, GARMO

28       was responsible for policing unlicensed marijuana dispensaries operating

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 1   in violation of state and local law,                         including a       rash of unlicensed

 2   dispensaries operating in and around Spring Valley, California.

 3         32.     One such unlicensed and illegal marijuana dispensary,                               known

 4   as "Campo Greens," was located at 10002 Campo Road in Spring Valley,

 5   California.         Campo Greens was owned and operated by Individual 1, who

 6   partnered         with   Individual       2   (its        property    owner    and    landlord)        and

 7   Individual 3 (GARMO's cousin).                 On or about March 1, 2018, GARMO sold a

 8   Sig Sauer P320           .45 caliber pistol bearing serial number 58A070887 to

 9   Individual 3.

10         33.     On July 10, 2018, GARMO received an email notification of an

11   impending search of Campo Greens scheduled for the following morning.

12   Within one minute of replying to that email, GARMO placed a telephone

13   call to Individual 4, his cousin and Individual 3's brother.                              During the

14   telephone call between GARMO and Individual 4, GARMO warned Individual

15   4 about the imminent search of Campo Greens.                          Following Individual 4's

16   conversation         with   GARMO,       Individual 4         immediately       placed    a     call    to

17   Individual 3 to warn him of the impending search.

18         34.     On July 10, 2018, prior to GARMO's notification, Campo Greens

19   was   open    for    business      and    operating normally.                 Several    hours    after

20   GARMO's notification and telephone call to Individual 3,                                Campo Greens

21   staff emptied its shelves and removed its inventory and cash so that it

22   would not be seized by law enforcement in the expected search.

23         35.     The    following morning,          on        July 11,    2018,     Campo Greens          was

24   closed for business.              The morning of July 11,              2018,    GARMO received an

25   email notification that the search of Campo Greens had been canceled.

26   Within      one    minute    of    replying      to        that   email,      GARMO     again    called

27   Individual 4 to pass along the information that there was no further

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 1   danger of an immediate search.             Campo Greens opened for business later

 2   that day.

 3         36.    On August 7,    2018,       Campo Greens was posted with a nuisance

 4   abatement letter by San Diego County Code Enforcement.                       The letter stated

 5   that Campo Greens' operation was in violation of local law, and directed

 6   the business to cease operations within ten (10) days.

 7         37.    The same day, Individual 3 texted a photograph of the abatement

 8   letter to GARMO.     Less than half an hour later after that text message

 9   was sent, GARMO texted Individual 5, a San Diego County employee whose

10   job    included      communications             concerning           unlicensed       marijuana

11   dispensaries.      Individual       5    asked Garmo      "who [se]       abatement    letter"?

12   GARMO replied "Chaldeans I              know can we push it back?"                Individual 5

13   replied "Yes you can."
                                       Count 1
14
                             Engaging In The Business Of
15                      Dealing In Firearms Without A License
                                  Aiding & Abetting
16                          [18 U.S.C. §§ 922(a) (1) (A)              &   2]

17         38.    The allegations set forth in paragraphs 1 through 37 above are

18   realleged and incorporated by reference as if fully set forth herein.

19         39.    Beginning no later than March 2013 and continuing until at

20   least February 13, 2019, within the Southern District of California, and

21   elsewhere,    defendant     MORAD       MARCO    GARMO,    not       being    licensed   as   an

22   importer, manufacturer, or dealer of firearms, willfully engaged in the

23   business of dealing in firearms,                aided and abetted by defendants LEO

24   JOSEPH HAMEL, GIOVANNI VINCENT TILOTTA, aka "Gio Tilotta," FRED MAGANA,

25   and WAIEL YOUSIF ANTON, aka "Will Anton".

26   All in violation of Title 18, United States Code, Sections 922 (a) (1) (A),

27   923 (a), 924 (a) (1) (D), and 2.

28
                                                     13
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 1                                        Count 2
                      False Statement in the Acquisition of a Firearm
 2                          [18 U.S.C. § 922(a)(6) & 924(a)(2)]
 3           40.    The allegations set forth in paragraphs 1 through 39 above are

 4   realleged and incorporated by reference as if fully set forth herein.

 5           41.    On or about December 17,              2014, within the Southern District

 6   of   California,           defendant   MORAD MARCO       GARMO,       in    connection    with    the

 7   acquisition of a firearm from a licensed dealer, namely, the acquisition

 8   of a Zastava M92 7.62 x 39mm pistol, bearing serial number M92PV044341,

 9   from the Deputy Sheriffs Association in Poway,                             California,   knowingly

10   made a false and fictitious written statement,                          intended to and likely

11   to deceive such dealer with respect to a fact material to the lawfulness

12   of   the      sale    of    such   firearm    under     Title     18,      United   States   Code,

13   Chapter 44, in that defendant GARMO executed and submitted to the Deputy

14   Sheriffs Association a United States Department of Justice,                              Bureau of

15   Alcohol, Tobacco, Firearms and Explosives Form 4473 Firearms Transaction

16   Record, stating that defendant GARMO was the actual buyer of the firearm,

17   when,    in truth and in fact,           as defendant GARMO then well knew, he was

18   not the actual buyer of the firearm, in that he was acquiring the firearm

19   on behalf of another person.

20   All in violation of Title 18,                United States Code,              Sections 922 (a) (6)

21   and 924 (a) (2).

22                                        Count 3
                      False Statement in the Acquisition of a Firearm
23                          [18 U.S.C. § 922(a)(6) & 924(a)(2)]
24           42.    The allegations set forth in paragraphs 1 through 41 above are
25   realleged and incorporated by reference as if fully set forth herein.
26           43.    On or about April 22,           2015,    within the Southern District of
27   California,          defendants    MORAD     MARCO     GARMO    and     LEO    JOSEPH    HAMEL,    in

28   connection with the acquisition of a firearm from a licensed dealer,
                                                     14
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 1   namely, the acquisition of a Sig Sauer P320 9mm pistol, bearing serial

 2   number      58B017746,    from    the    Deputy       Sheriffs       Association       in    Poway,

 3   California, knowingly made and caused to be made a false and fictitious

 4   written statement,        intended to and likely to deceive such dealer with

 5   respect to a fact material to the lawfulness of the sale of such firearm

 6 under Title 18, United States Code, Chapter 44, in that defendants GARMO

 7   and   HAMEL    executed     and    submitted,         and   caused     to    be   executed      and

 8   submitted, to the Deputy Sheriffs Association a United States Department

 9   of Justice,     Bureau of Alcohol,            Tobacco,      Firearms and Explosives Form

10   4473 Firearms Transaction Record, stating that defendant GARMO was the

11   actual buyer of the firearm,             when,    in truth and in fact,           as defendant

12   GARMO then well knew,        he was not the actual buyer of the firearm,                         in

13   that he was acquiring the firearm on behalf of HAMEL.
14   All in violation of Title 18,                 United States Code,           Sections 922 (a) (6)

15   and 924 (a) (2).

16                                       Count 4
                     False Statement in the Acquisition of a Firearm
17                         [18 U.S.C. § 922(a) (6) & 924(a) (2)]

18         44.     The allegations set forth in paragraphs 1 through 43 above are

19   realleged and incorporated by reference as if fully set forth herein.

20         45.     On or about October 12, 2015, within the Southern District of

21   California,      defendant       MORAD    MARCO       GARMO,    in    connection       with     the

22   acquisition of a firearm from a licensed dealer, namely, the acquisition

23   of a Glock 43 9mm pistol, bearing serial number ZWZ585, from the Deputy

24   Sheriffs Association in Poway,                California,      knowingly made a false and

25   fictitious written statement,             intended to and likely to deceive such

26   dealer with respect to a fact material to the lawfulness of the sale of

27   such firearm under Title 18,             United States Code,            Chapter 44,         in that

28   defendant      GARMO     executed       and     submitted      to     the     Deputy    Sheriffs
                                                      15
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 1   Association a United States Department of Justice,          Bureau of Alcohol,

 2   Tobacco, Firearms and Explosives Form 4473 Firearms Transaction Record,

 3   stating that defendant GARMO was the actual buyer of the firearm, when,

 4   in truth and in fact, as defendant GARMO then well knew, he was not the

 5   actual buyer of the firearm,       in that he was acquiring the firearm on

 6   behalf of another person.
 7 All in violation of Title 18,         United States Code,     Sections 922 (a) (6)

 8   and 924 (a) (2).
 9                                     Count 5
                   False Statement in the Acquisition of a Firearm
10                       [18 U.S.C. § 922{a)(6) & 924(a)(2)]

11         46.   The allegations set forth in paragraphs 1 through 45 above are

12   realleged and incorporated by reference as if fully set forth herein.

13         47.   On or about May 29,     2018,   within the Southern District of

14   California,    defendant   MORAD   MARCO    GARMO,   in   connection   with   the

15   acquisition of a firearm from a licensed dealer, namely, the acquisition

16   of a Century Arms RAS47 7.62mm rifle, bearing serial number RAS47058200,

17   at AO Sword Firearms in El Cajon, California, knowingly made a false and

18   fictitious written statement,      intended to and likely to deceive such

19   dealer with respect to a fact material to the lawfulness of the sale of

20   such firearm under Title 18,       United States Code,     Chapter 44,   in that

21   defendant GARMO executed and submitted to AO Sword Firearms a United

22   States Department of Justice, Bureau of Alcohol, Tobacco, Firearms and

23   Explosives Form 4473 Firearms Transaction Record, stating that defendant

24   GARMO was the actual buyer of the firearm, when, in truth and in fact,

25   as defendant GARMO then well knew, he was not the actual buyer of the

26   firearm, in that he was acquiring the firearm on behalf of ANTON.

27   All in violation of Title 18,       United States Code,     Sections 922 (a) (6)

28   and 924 (a) (2).
                                            16
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 1                                       Count 6
                    False Statement in the Acquisition of a Firearm
 2                             [18 U.S.C. § 924(a)(l)(A)]
 3        48.     The allegations set forth in paragraphs 1 through 47 above are

 4   realleged and incorporated by reference as if fully set forth herein.

 5        49.     On or about October 21, 2015, within the Southern District of

 6 California, defendants MORAD MARCO GARMO and LEO JOSEPH HAMEL, knowingly

 7 made and caused to be made a false statement and representation to Honey

 8   Badger Firearms in San Diego, California, a person licensed under the

 9   provisions of Title 18, United States Code, Chapter 44, with respect to

10   information required by the provisions of Chapter 44 of Title 18, United

11   States Code, to be kept in the records of Honey Badger Firearms, in that

12   defendants    GARMO and HAMEL executed and submitted,                  and caused to be

13   executed     and    submitted,   to   Honey       Badger    Firearms   a   United   States

14   Department     of    Justice,    Bureau     of    Alcohol,     Tobacco,     Firearms   and

15   Explosives Form 4473 Firearms Transaction Record, stating that defendant

16   GARMO was     the actual buyer of a          Sig Sauer P320       Compact    9mm pistol,

17   bearing serial number 58B024632, when, in truth and in fact, as defendant

18   GARMO then well knew,       he was not the actual buyer of the firearm,                 in

19   that he was acquiring the firearm on behalf of HAMEL.

20   All in violation of Title 18, United States Code, Section 924 (a) (1) (A).

21                                       Count 7
                    False Statement in the Acquisition of a Firearm
22                             [18 U.S.C. § 924(a) (1) (A)]
23        50.     The allegations set forth in paragraphs 1 through 49 above are
24   realleged and incorporated by reference as if fully set forth herein.
25        51.     On or about     July 7,      2016,    within the Southern District of
26   California, defendants MORAD MARCO GARMO and LEO JOSEPH HAMEL knowingly
27   made and caused to be made a false statement and representation to Honey
28   Badger Firearms in San Diego, California,                  a person licensed under the
                                                 17
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 1   provisions of Title 18, United States Code, Chapter 44, with respect to

 2   information required by the provisions of Chapter 44 of Title 18, United

 3   States Code, to be kept in the records of defendant TILOTTA and Honey

 4   Badger     Firearms,   in   that    defendants     GARMO   and   HAMEL    executed    and

 5   submitted, and caused to be executed and submitted, to TILOTTA and Honey

 6   Badger Firearms a United States Department of Justice, Bureau of Alcohol,

 7   Tobacco, Firearms and Explosives Form 4473 Firearms Transaction Record,

 8   stating that defendant GARMO was the actual buyer of a Sig Sauer P226

 9   Legion 9mm pistol, bearing serial number 47Al41276, when, in truth and

10   in fact, as defendant GARMO then well knew, he was not the actual buyer

11   of the firearm, in that he was acquiring the firearm on behalf of HAMEL.

12   All in violation of Title 18, United States Code, Section 924 (a) (1) (A).

13                                       Count 8
                    False Statement in the Acquisition of a Firearm
14                             [18 U.S.C. § 924(a) (1) (A)]

15        52.     The allegations set forth in paragraphs 1 through 51 above are

16   realleged and incorporated by reference as if fully set forth herein.

17        53.     On or about    July 7,     2016,    within the Southern District of

18   California,     defendant    MORAD     MARCO     GARMO,    knowingly     made   a   false

19   statement    and representation to Honey Badger Firearms                 in San Diego,

20   California, a person licensed under the provisions of Title 18, United

21   States Code,     Chapter 44,       with respect to information required by the

22   provisions of Chapter 44 of Title 18, United States Code, to be kept in

23   the records of Honey Badger Firearms, in that defendant GARMO executed

24   and submitted to Honey Badger Firearms a United States Department of

25   Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives Form 4473

26   Firearms Transaction Record, stating that defendant GARMO was the actual

27   buyer of a Colt 1911 .45 caliber pistol, bearing serial number 2931866,

28   when, in truth and in fact,          as defendant GARMO then well knew, he was

                                                18
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     1   not the actual buyer of the firearm, in that he was acquiring the firearm

     2   on behalf of another person.

     3   All in violation of Title 18, United States Code, Section 924 (a) (1) (A).

     4                                       Count 9
                        False Statement in the Acquisition of a Firearm
     5                             [18 U.S.C. § 924(a) (1) (A)]
     6         54.     The allegations set forth in paragraphs l through 53 above are

 7       realleged and incorporated by reference as if fully set forth herein.
 8             55.     On or about July 7,        2 016,   within the Southern District of

 9       California,     defendant    MORAD     MARCO      GARMO,    knowingly   made   a    false

10       statement and representation to Honey Badger Firearms                   in San Diego,

11       California, a person licensed under the provisions of Title 18, United

12       States Code,     Chapter 44,    with respect to information required by the

13       provisions of Chapter 44 of Title 18, United States Code, to be kept in

14       the records of Honey Badger Firearms, in that defendant GARMO executed

15       and submitted to Honey Badger Firearms a United States Department of

16       Justice, Bureau of Alcohol, Tobacco,              Firearms and Explosives Form 4473

17       Firearms Transaction Record, stating that defendant GARMO was the actual

18       buyer of a Colt 1911 9mm pistol, bearing serial number NN03641, when,

19       in truth and in fact, as defendant GARMO then well knew, he was not the

20       actual buyer of the firearm,           in that he was acquiring the firearm on
21       behalf of another person.

22       All in violation of Title 18, United States Code, Section 924 (a) (1) (A).
23                                          Count 10
                        False Statement in the Acquisition of a Firearm
24                                 [18 U.S.C. § 924(a)(l)(A)]
25            56.    The allegations set forth in paragraphs 1 through 55 above are
26       realleged and incorporated by reference as if fully set forth herein.
27            57.    On or about April 24,        2017,     within the Southern District of

28       California,     defendants     MORAD    MARCO      GARMO,   LEO   JOSEPH   HAMEL,    and
                                                    19
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 1   FRED MAGANA, knowingly made and caused to be made a false statement and

 2   representation to Honey Badger Firearms           in   San Diego,     California,    a

 3   person licensed under the provisions of Title 18, United States Code,

 4   Chapter 44, with respect to information required by the provisions of

 5   Chapter 44 of Title 18, United States Code, to be kept in the records

 6   of Honey Badger Firearms,       in that defendants MAGANA,        GARMO and HAMEL

 7   executed and submitted,       and caused to be executed and submitted,              to

 8   Honey Badger Firearms a United States Department of Justice, Bureau of

 9 Alcohol, Tobacco, Firearms and Explosives Form 4473 Firearms Transaction

10   Record, stating that defendant MAGANA was the actual buyer of a Walther

11   PPS M2 9mm pistol, bearing serial number AR5980, when, in truth and in

12   fact,    as defendant MAGANA then well knew,       he was not the actual buyer

13   of the firearm, in that he was acquiring the firearm on behalf of HAMEL.

14   All in violation of Title 18, United States Code, Section 924 (a) (1) (A).

15                                        Count 11
                      False Statement in the Acquisition of a Firearm
16                               [18 U.S.C. § 924(a) (1) (A)]

17           58.    The allegations set forth in paragraphs 1 through 57 above are

18   realleged and incorporated by reference as if fully set forth herein.

19           59.    On or about April 24,   2017, within the Southern District of

20   California,      defendants MORAD MARCO GARMO,     LEO JOSEPH HAMEL,       and FRED

21   MAGANA,       knowingly made and caused to be made        a   false   statement   and

22   representation to Honey Badger         Firearms   in San Diego,       California,    a

23   person licensed under the provisions of Title 18, United States Code,

24   Chapter 44,      with respect to information required by the provisions of

25   Chapter 44 of Title 18, United States Code, to be kept in the records

26   of Honey Badger Firearms, in that defendants GARMO, HAMEL, and MAGANA,

27   executed and submitted,       and caused to be executed and submitted,              to

28   Honey Badger Firearms a United States Department of Justice, Bureau of

                                             20
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     1   Alcohol, Tobacco, Firearms and Explosives Form 4473 Firearms Transaction

     2   Record, stating that defendant MAGANA was the actual buyer of a Walther

     3    PPQ M2 9mm pistol, bearing serial number FCH4067, when, in truth and in

     4   fact,     as defendant MAGANA then well knew,       he was not the actual buyer

     5   of the firearm, in that he was acquiring the firearm on behalf of HAMEL.

     6 All in violation of Title 18, United States Code, Section 924 (a) (1) (A).

 7                                           Count 12
                         False Statement in the Acquisition of a Firearm
 8                                  [18 U.S.C. § 924(a) (1) (A)]
 9                60.   The allegations set forth in paragraphs 1 through 59 above are

10       realleged and incorporated by reference as if fully set forth herein.
11                61.   On or about May 31,     2018,   within the Southern District of

12       California,       defendant   MORAD   MARCO    GARMO,   knowingly   made   a     false

13       statement and representation to Honey Badger Firearms               in San      Diego,

14       California, a person licensed under the provisions of Title 18, United

15       States Code,      Chapter 44,    with respect to information required by the

16       provisions of Chapter 44 of Title 18, United States Code, to be kept in

17       the records of Honey Badger Firearms, in that defendant GARMO executed

18       and submitted to Honey Badger Firearms a United States Department of

19       Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives Form 4473

20       Firearms Transaction Record, stating that defendant GARMO was the actual

21       buyer of a Sig Sauer P365 9mm pistol, bearing serial number 66A047292,

22       when,     in truth and in fact,    as defendant GARMO then well knew, he was

23       not the actual buyer of the firearm, in that he was acquiring the firearm
24       on behalf of another person.

25       All in violation of Title 18, United States Code, Section 924 (a) (1) (A).

26       II
27       //

28       //

                                                   21
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 1                                     Count 13
               Conducting Firearms Transaction in Violation of State Law
 2                      [18 U.S.C. §§ 922(b)(2) & 924(a)(l)(D)]
 3           62.    The allegations set forth in paragraphs 1 through 61 above are

 4   realleged and incorporated by reference as if fully set forth herein.

 5           63.    On or about October 28, 2016, within the Southern District of

 6   California,        defendant GIOVANNI VINCENZO TILOTTA,                     aka "Gio Tilotta",         a

 7   person licensed under the provisions of Title 18, United States Code,

 8   Chapter 44,        knowingly did sell,            deliver and transfer three firearms,

 9   that    is,    a   Daniel    Defense AR-15           style        5. 56mm rifle     bearing       serial

10   number DDM4107377,          a Smith & Wesson Shield 9mm handgun bearing serial

11   number HNH6175, and a Glock 27 .40 caliber pistol bearing serial number

12   RLK240,       to V.B.,     at the Rancho San Diego Substation of the San Diego

13   County Sheriff's Department, a location prohibited by California Penal

14   Code Section 26805(d).
15   All in violation of Title 18,                 United States Code,             Sections 922 (b) (2)

16   and 924 (a) (1) (D).
17                                           Count 14
                                Possession of Unregistered Firearm
18                                [18 U.S.C. §§ 5861(d) & 5871]
19           64.    The allegations set forth in paragraphs 1 through 63 above are
20   realleged and incorporated by reference as if fully set forth herein.
21           65.    On or about February 13,              2019, within the Southern District
22   of California, defendant LEO JOSEPH HAMEL knowingly possessed a firearm,
23   as     defined     by    Title    2 6,     United        States     Code,   Sections       5845 (a) (5)
24   and 5845(e),        that    was   a      pistol   having a         barrel    with   a    smooth bore
25   designed or redesigned to fire a fixed shotgun shell, namely, a Thomas

26   Bland     &     Sons     20-gauge        double-barreled,           single-shot         pistol,     with

27   smoothbore barrels approximately 9 5/8 inches in length, bearing serial

28   number 14846, which had not been registered to HAMEL in the National
                                                         22
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 1   Firearms Registration and Transfer Record as required by Chapter 53,

 2   Title 26, United States Code.
 3 All      in violation of Title                 26,   United States Code,             Sections    5861 (d)

 4   and 5871.
 5                                            Count 15
                                 Possession of Unregistered Firearm
 6                                 [18 U.S.C. §§ 586l(d) & 5871]
 7          66.    The allegations set forth in paragraphs 1 through 65 above are

 8   realleged and incorporated by reference as if fully set forth herein.
 9          67.    On or about February 13, 2019, within the Southern District

10   of California, defendant LEO JOSEPH HAMEL knowingly possessed a firearm,
11   as    defined      by    Title     26,       United          States    Code,    Sections    5845 (a) (5)
12   and 5845 (e),          that was     a    pistol     having        a    barrel   with   a   smooth bore
13   designed      or       redesigned       to   fire        a    fixed    shotgun    shell,    namely,     a
14   Harrington         &    Richardson       Arms      Co.       28-gauge     single-shot      "Handy-Gun"

15   pistol, with a smoothbore barrel approximately 12 1/4 inches in length,

16   bearing serial number 19932, which had not been registered to HAMEL in
17   the National Firearms Registration and Transfer Record as required by

18   Chapter 53, Title 26, United States Code.
19   All    in violation of            Title 26,         United States Code,            Sections    5861 (d)

20   and 5871.

21                                               Count 16
                                             False Statement
22                                       [18 U.S.C. § lOOl(a) (2)]
23          68.    The allegations set forth in paragraphs 1 through 67 above are
24   realleged and incorporated by reference as if fully set forth herein.
25          69.    On or about February 13, 2019, within the Southern District
26   of California, defendant MORAD MARCO GARMO did knowingly and willfully

27   make    a    materially       false,         fictitious          and    fraudulent     statement      and
28   representation in a matter within the                            jurisdiction of the executive
                                                           23
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     1   branch of the Government of the United States by stating and representing

     2   to agents from the Federal Bureau of Investigation and the Bureau of

     3 Alcohol, Tobacco,             Firearms and Explosives that GARMO had never engaged

     4   in straw purchases of firearms.              The statements and representations were

     5   false because,         as defendant GARMO then and there well                knew,   he   had

     6   conducted numerous            straw purchases of firearms         for HAMEL,    J. K.,    and
  7      others.

  8      All in violation of Title 18, United States Code, Section 1001 (a) (2).

  9                                                 Count 17
                                                 False Statement
10                                          [18 U.S.C. § lOOl(a) (2)]
11                70.    The allegations set forth in paragraphs 1 through 69 above are

12       realleged and incorporated by reference as if fully set forth herein.
13               71.     On or about February 14,           2019,   within the Southern District

14       of California, defendant MORAD MARCO GARMO did knowingly and willfully

15       make     a     materially     false,     fictitious    and   fraudulent   statement       and

16       representation         in a matter within the          jurisdiction of the executive

17       branch of the Government of the United States by stating and representing

18       to an agent from the Bureau of Alcohol, Tobacco, Firearms and Explosives

19       that     the    last   time   he   had   received money      from WAIEL   YOUSIF ANTON,

20       aka "Will Anton", was several months earlier in exchange for a Ruger LCP
21       firearm.         The   statements and representations were           false   because,     as

22       defendant GARMO then and there well knew, he had received the money from

2.3      ANTON on or after February 5, 2019.

24       All in violation of Title 18, United States Code, Section l00l(a) (2).

25       II
26       II
27       II
28       II
                                                       24
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     1                                          Count 18
                                    Attempted Obstruction of Justice
     2                                  [18 U.S.C. § 1512(b) (3)]
     3           72.   The allegations set forth in paragraphs 1 through 71 above are

     4   realleged and incorporated by reference as if fully set forth herein.
     5           73.   On or about February 13,              2019,    in the Southern District of

     6   California,      defendant          WAIEL   YOUSIF    ANTON,      aka   "Will"    ANTON,   did

 7       knowingly attempt to corruptly persuade and to bribe an undercover agent

 8       of the Bureau of Alcohol, Tobacco, Firearms and Explosives by repeatedly

 9       directing the undercover agent not to tell federal investigators that

10       he had paid ANTON $1,000 for his supposed "consulting" services and to

11       instead falsely tell investigators that ANTON was helping the undercover

12       agent    because    they       were     friends,    and     by   promising   to   refund   the

13       undercover agent's money and continue to provide free services, all with

14       the intent to hinder, delay and prevent the communication to agents of

15       the Federal Bureau of Investigation and the Bureau of Alcohol, Tobacco,

16       Firearms and Explosives of information relating to the commission and

17       possible      commission       of   a   federal     offense,     specifically     aiding   and

18       abetting the unlicensed dealing of firearms,                     in violation of Title 18,
19       United States Code,        Section 922 (a) (1) (A), and federal program bribery,
20       in violation of Title 18, United States Code, Section 666.
21       All in violation of Title 18, United States Code, Section 1512(b) (3)
22                                           Count 19
                         Aiding    Abetting the Possession of Marijuana
                                    &
23                                With the Intent to Distribute
24                           [21 u.s.c. § 841(a) (1) & 18 u.s.c. § 2]
              7 4.     The allegations set forth in paragraphs 1 through 73 above are
25
         realleged and incorporated by reference as if fully set forth herein.
26
              75.      On or about July 10,           2018 and on or about August 7,            2018,
27
         within the Southern District of California, defendant MORAD MARCO GARMO
28

                                                        25
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     1   aided and abetted the distribution of marijuana and the possession with

 2       intent to distribute marijuana, a Schedule I Controlled Substance.

 3       All in violation of Title 21, United States Code, Section 84l(a) (1), and

 4       Title 18, United States Code, Section 2.

 5                                            Counts 20-22
                                  Use of a Communications Facility to
 6                                        Further a Drug Crime
                                          [21 U.S.C. § 843(b)]
 7

 8             76.    The allegations set forth in paragraphs 1 through 75 above are

 9       realleged and incorporated by reference as if fully set forth herein.

10             77.    On or about           the   dates   and times        listed below,    within   the

11       Southern     District         of   California,        defendant    MORAD   MARCO   GARMO    did

12       knowingly and intentionally use any communication facility,                         to wit,   a

13       Samsung Galaxy S7 cellular telephone then bearing telephone number XXX-

14       XXX-0719, in facilitating the commission of any act or acts constituting

15       a felony under Title 21, United States Code, Section 84l(a) (1), that is,

16       the distribution and possession with the intent to distribute marijuana,

17       a Schedule I Controlled Substance.

18        Count      Date   &   Time        Use of Communications Facility

19        20         July 10, 2018          Telephone call to Individual 4 following

20                   5:02 p.m. PT           notification to GARMO of Campo Greens search

21        21         July 11, 2018          Telephone call to Individual 4 following

22                   10:48 a.m. PT          notification to GARMO that search of Campo

23                                          Greens had been canceled

24        22         August 7, 2018         Text message to Individual 5 regarding

25                   4:13 p.m. PT           abatement notice for Campo Greens, asking

26                                          "can we push it back?"

27       All in violation of Title 21, United States Code, Section 843(b).

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 1                                               Count 23
                                             False Statement
 2                                       [18 U.S.C. § lOOl(a) (2) l
 3        78.       The allegations set forth in paragraphs 1 through 77 above are

 4   realleged and incorporated by reference as if fully set forth herein.
 5        79.       On or about February 13, 2019, within the Southern District

 6   of California, defendant MORAD MARCO GARMO did knowingly and willfully

 7 make       a    materially      false,     fictitious       and    fraudulent      statement      and

 8   representation in matter within the jurisdiction of the executive branch

 9   of the Government of the United States by stating and representing to

10   agents       from    the    Federal    Bureau    of    Investigation       and   the   Bureau    of

11   Alcohol, Tobacco, Firearms and Explosives that "Hell no," he had never

12   told a marijuana dispensary that Sheriff's deputies were coming to serve

13   a search warrant, because he would never put his deputies in harm's way.

14   The statements          and representations           were   false   because,     as   defendant

15   GARMO then and there well knew,                 he had provided advance warning of an

16   impending warrant search of a dispensary, including to Individual 4 on

17   July 10, 2018.
18   All in violation of Title 18, United States Code, Section l00l(a) (2).

19                                       FORFEITURE ALLEGATIONS

20        80.       The allegations set forth above are realleged and incorporated

21   herein for the purpose of alleging forfeiture to the United States of

22   America under Title 18, United States Code, Section 924(d), Title 26,

23   United States Code,            Section 5872,          and Title 28,    United States Code,

24   Section 2461(c).

25        81.       Upon conviction of the one or more of the offenses set forth

26   in Counts 1 through 10 above,               and pursuant to Title 18, United States

27   Code, Section 924(d), and Title 28, United States Code, Section 246l(c),

28   defendants          MORAD   MARCO     GARMO,    LEO     JOSEPH    HAMEL,    GIOVANNI     VINCENT

                                                      27
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 1   TILOTTA,     aka "Gio Tilotta," FRED MAGANA,                        and WAIEL YOUSIF ANTON,            aka
 2   "Will Anton", shall forfeit to the United States all rights, title and
 3   interest in all firearms and ammunition involved in the offenses.                                      The

 4 property to be forfeited includes, but is not limited to:
 5                         a. 64 firearms seized from GARMO on February 13, 2019; and

 6                         b. 5 firearms seized from ANTON on February 13, 2019.
 7        82.         Upon conviction of one or more of the offenses set forth in
 8   Counts      14    and        15,    and    pursuant      to     Title     26,    United    States   Code,

 9   Section 5872            and        Title   28,     United       States        Code,    Section   2461(c),
10   defendant        LEO        JOSEPH    HAMEL      shall    forfeit        to    the    United States    all

11   firearms involved in such offenses.

12        8 3.        Upon conviction of one or more of the felony offenses set

13   forth in Counts 19 through 22, which are subject to imprisonment for
14   more than         one       year,     and pursuant        to     Title    21,     United States     Code,

15   Section 8 53,           defendant MORAD MARCO GARMO shall forfeit to the United
16   States   all          his    rights,       title   and        interest    in    any and all      property

17   constituting, or derived from, any proceeds defendant MORAD MARCO GARMO
18   obtained, directly or indirectly, as the result of the offenses, and any

19   and all property used or intended to be used in any manner or part to
20   commit and to facilitate the commission of the violations.

21        84.         If    any     of    the    above-described          forfei table       property,     as   a

22   result of any act or omission of the defendants-

23                    a.         cannot be located upon the exercise of due diligence;

24                    b.         has been transferred or sold to,                     or deposited with,        a

25                               third party;

26                    c.         has been placed beyond the jurisdiction of the Court;

27                    d.         has been substantially diminished in value; or

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                                                              28
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      1              e.      has been commingled with other property which cannot be

      2                      subdivided without difficulty;
      3   it is the intent of the United States,               pursuant to Title 21,        United
      4   States   Code,     Section    853(p)   and     Title    28,     United   States    Code,

      5   Section 246l(c),     to    seek   forfeiture    of     any    other   property    of   the
      6 defendants up to the value of the property listed above as being subject

      7   to forfeiture.
      8 All pursuant to Title 18, United States Code, Section 924(d), Title 26,

      9   United   States    Code,     Section   5872,   Title     21,    United   States    Code,

     10   Section 853, and Title 28, United States Code, Section 246l(c).

     11         DATED:     November 21, 2019.

     12                                                    A TRUE BILL:

     13
     14                                                    Foreperson
     15

     16   PETER J. MAZZA
          Attorney for the United States
     17   Acting Under Authority
          Conferred by 28 U.S.C. § 515
     18

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          By:   NVc~WPILCHAK
                Assistant U.S. Attorney
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